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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


VITOR DOCAJ,

      Plaintiff,                                      No. 20-10014

v.                                                    Honorable Nancy G. Edmunds

ATLANTIC SPECIALTY INSURANCE
COMPANY, ONEBEACON AMERICA
INSURANCE COMPANY,

      Defendants.

________________________________________/

                             ORDER TO SHOW CAUSE

      IT IS HEREBY ORDERED that Defendants shall, within fourteen (14) days of

the date of this Order, SHOW CAUSE in writing why this case should not be

remanded to the Wayne County Circuit Court for failure to meet the jurisdictional

amount in controversy requirement, as set forth in 28 U.S.C. § 1332(a) and Local

Court Rule 81.1. Defendants shall present written evidence that the amount in

controversy exceeds the $75,000 jurisdictional requirement of this Court by submitting

an itemization of the alleged injuries and damages by category and amount, together

with supporting documents. For those categories for which injuries and damages

cannot be specified in a precise amount, an estimate of the maximum amount and a

detailed description of the factual basis for such estimate must be submitted. See

Gafford v. Gen. Elec., Co., 997 F.2d 150, 158 (6th Cir. 1993), abrogated on other

grounds by Hertz Corp. v. Friend, 559 U.S. 77 (2010) (a defendant seeking removal
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on the basis of diversity jurisdiction has the burden of proving the amount in

controversy by a preponderance of the evidence).

       This Order to Show Cause constitutes notice under Local Rule 41.2 of the

Local Rules for the Eastern District of Michigan of the Court’s intent to remand this

case on its own motion for lack of federal jurisdiction, unless Defendants can

demonstrate that the Court does have jurisdiction in this case.

       SO ORDERED.

                                   s/Nancy G. Edmunds
                                   Nancy G. Edmunds
                                   United States District Judge

Dated: January 14, 2020

I hereby certify that a copy of the foregoing document was served upon counsel of
record on January 14, 2020, by electronic and/or ordinary mail.

                                   s/Lisa Bartlett
                                   Case Manager
